         Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 1 of 11




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ROBERT M. MILLER,
                       Plaintiff,
            v.                                      Civ. Act. No: 1:22-cv-02579-CKK

 MERRICK B. GARLAND, et al.,
                Defendants.


      REPLY TO DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR
                                    EXPEDITED DISCOVERY
       Plaintiff herein replies to Defendants’ Opposition to Plaintiff’s Motion for Expedited

Discovery (“Opposition”), ECF 16. For the reasons stated in Plaintiff’s Motion, ECF 12, and in

this Reply, this Court should grant expedited discovery requested.


                                       INTRODUCTION

       Defendants’ opposition to Plaintiff’s motion for expedited discovery relies heavily on

arguments in its motion to dismiss claiming Plaintiff has no standing to bring this claim to court.

Contrary to Defendants’ arguments, the requested discovery will demonstrate such standing

because standing is a matter of case-specific facts. Defendants are in sole possession of facts

Defendants argued Plaintiff needs to demonstrate standing. Defendants failed to demonstrate the

requests are overbroad, irrelevant, unduly burdensome, or too far in advance of ordinary discovery.

       This Court should grant Plaintiff’s motion to give him a fair chance to rebut Defendants’

arguments in their Motion to Dismiss (“MTD”) either by distinguishing his case from existing

precedent, or for making nonfrivolous arguments to extend, modify, or reverse existing law or to

establish new law. Granting this motion will not deprive Defendants of due consideration of their

arguments when the Court considers the MTD, Plaintiff’s opposition, and Defendants’ reply.


                                                1
         Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 2 of 11




                                          ARGUMENT

 I. The Law Permits Plaintiffs to Obtain Expedited Discovery to Prove Standing.

    “When a court rules on a Rule 12(b)(1) motion, it may `undertake an independent

investigation to assure itself of its own subject matter jurisdiction,'" and it may consider "facts

developed in the record beyond the complaint." Settles v. U.S. Parole Comm'n, 429 F.3d 1098,

1107 (D.C. Cir. 2005) (quoting Haase v. Sessions, 835 F.2d 902, 908 (D.C. Cir. 1987)). Long Term

Care Pharmacy Alliance v. Leavitt, 530 F. Supp. 2d 173, 180 (D.D.C. 2008) (allowing Plaintiffs

discovery to develop the record on standing).

    “Where the needed showing as to standing is largely factual, the court must have the power

to permit the plaintiffs to conduct a reasonable amount of discovery, if necessary, to prove to the

court that they do have standing. Where there is at least a colorable basis for standing, it would be

unsound to allow the witnesses to abort discovery relating to standing by arguing that the plaintiffs

have no actual standing.” In re U.S. Catholic Conference, 824 F.2d 156, 166 (2d Cir.

1987)(reversed on other grounds). Fl. State v. Browning, 522 F.3d 1153, 1158 (11th Cir.

2008)(allowing Plaintiff expedited discovery to establish standing). Am. Tradition Inst. v. Epel,

Civil Action No. 11-cv-00859-WJM-BNB, at *3 (D. Colo. Mar. 19, 2013)(allowing Plaintiff

expedited discovery on issues of standing).


II. Standing Is Case Specific

    Standing jurisprudence is a highly case-specific endeavor, turning on the precise allegations

of the parties seeking relief. [quotes omitted] National Wildlife Federation v. Hodel, 839 F.2d 694,

703–4 (D.C. Cir. 1988); American Wild Horse Pres. Campaign v. Salazar, 800 F. Supp. 2d 270,

275 (D.D.C. 2011).




                                                 2
         Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 3 of 11




    The standing inquiry is a case-specific one, and the burden is on “the complainant clearly to

allege facts demonstrating that he is a proper party to invoke judicial resolution of the dispute and

the exercise of the court's remedial powers.” Warth v. Seldin, 422 U.S. 490, 518, 95 S.Ct. 2197,

45 L.Ed.2d 343 (1975). Thus, it is factual allegations–not legal precedents–that ultimately guide

the Court's resolution of the standing question. Friends Animals v. Jewell, 115 F. Supp. 3d 107,

111 n.4 (D.D.C. 2015).


III. Plaintiff May Seek to Distinguish, Reverse, Modify, Extend Law or Make New Law.

    Even if Defendants were completely correct in their arguments concerning standing, and this

Court ultimately grants their MTD, Plaintiff is entitled to make nonfrivolous arguments in his

opposition to the motion to dismiss to distinguish his case from existing precedent, to reverse,

modify, or extend existing law, or to make new law. F.R.C.P. 11(b)(2). Discovery aids those ends.

    All of the precedential decisions on which Defendants rely for the issue of preenforcement

standing1 pre-date District of Columbia et al. v. Heller, 554 U.S. 570 (2008) and New York State

Rifle & Pistol Assn., Inc. v. Bruen, No. 20-843 (June 23, 2022). “The constitutional right to bear

arms in public for self-defense is not a second-class right, subject to an entirely different body of

rules than the other Bill of Rights guarantees.” Bruen at *5. This raises serious questions about

whether this Circuit’s precedents regarding preenforcement challenges of gun regulations will

survive scrutiny in light of new law. Gun owners and prospective gun owners face extraordinary

risks from violating such laws, including felony conviction, lengthy imprisonment, heavy fines,




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 Parker v. D.C., 478 F.3d 370 (D.C. Cir. 2007); Seegars v. Gonzales, 396 F.3d 1248, 1253 (D.C.
Cir. 2005).


                                                 3
           Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 4 of 11




forfeiture of guns,2 and forfeiture of Second Amendment rights. “We normally do not require

plaintiffs to ‘bet the farm ... by taking the violative action’ before ‘testing the validity of the law,’

MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 129, 127 S.Ct. 764, 166 L.Ed.2d 604 (2007);

accord, Ex parte Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714 (1908). Free Enterprise Fund

v. Public Company, 561 U.S. 477, 490 (2010).

          Discovery will show Plaintiff faces a credible threat of immediate enforcement of the NFA

and GCA for all of the conduct he challenges in this suit.


IV. Plaintiff Made No Motion for Leave to Amend

          As a threshold matter, Defendants misconstrue Plaintiff’s argument concerning “Further

Amendment of or Supplement to the Complaint.” ECF 16 at 19, re: ECF 12 at 8. This section was

not a motion for leave to amend, and this Court should not construe it as such. Plaintiff will make

such a motion when the time is ripe after this Court decides on Defendants’ MTD.

          This section of Plaintiff’s motion argued that Defendants’ responses to Plaintiff’s proffered

discovery requests could be used to amend or supplement his SAC to address any pleading

deficiencies as to jurisdiction. “If the difficulty is no more serious than inadequate jurisdictional

allegations, the defect may be curable simply by amendment. See 28 U.S.C. § 1653 (1976);

Fed.R.Civ.P. 15(a); Kaufman v. Western Union Tel. Co., 224 F.2d 723, 725 (5th Cir. 1955), cert.

denied, 350 U.S. 947, 76 S.Ct. 321, 100 L.Ed. 825 (1956); Jones v. Freeman, 400 F.2d 383, 387

(8th Cir. 1968). Gordon v. Nat'l Youth Work All., 675 F.2d 356, 363 n.12 (D.C. Cir. 1982).




2
    In Plaintiff’s case, more than $250,000 worth of firearms and accessories.

                                                   4
          Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 5 of 11




         That is, Plaintiff was merely describing the utility and relevance of his discovery requests

to facts supporting jurisdiction that may be necessary if this Court dismisses the claims with leave

to amend.


V. Legal Standard for Considering Expedited Discovery.

       “Although the Federal Rules of Civil Procedure do not provide specific standards for

evaluating expedited discovery motions, the Rules do provide the court with the authority to direct

expedited discovery in limited circumstances.” Disability Rights Council v. Wash. Metro. Area,

234 F.R.D. 4, 6 (D.D.C. 2006). Factors commonly considered in determining the reasonableness

of expedited discovery include, but are not limited to: "(1) whether a preliminary injunction is

pending; (2) the breadth of the discovery requests; (3) the purpose for requesting the expedited

discovery; (4) the burden on the defendants to comply with the requests; and (5) how far in advance

of the typical discovery process the request was made." Id.


  A. Preliminary Injunction.

         Plaintiff admits there is no preliminary injunction pending, nor does he intend to move for

one.


  B. Breadth of the Discovery Requests.

         As purported evidence of overbreadth, Defendants point to Interrogatories 2—6. Id. at 15.

Interrogatory 2 simply asks Defendants to explain how Plaintiff could obtain a refund of his NFA

taxes paid without surrendering those registered weapons. While Defendants appear to argue the

request is broad because of the “all circumstances” language, the fact is that there are no

circumstances under which Defendants would provide a tax refund – a very narrow response either

reinforcing its response to Request for Admission 4 or, if they deny RFA 4, under what


                                                  5
         Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 6 of 11




circumstances Plaintiff could obtain a refund. This is directly relevant to Defendants’ claim

Plaintiff failed to exhaust administrative remedies and relevant to the futility of a refund request.

       Similarly, Interrogatory 3 only appears broad because of the use of the word “all” when

asking Defendants to demonstrate they have prosecuted people for possessing or making solvent

traps. Plaintiff would gladly narrow this request to the past three years. This interrogatory is

narrowly tailored to Defendants’ assertion solvent traps violate the law and to Plaintiff’s pleadings

he was forced to destroy his solvent trap for fear of prosecution. It is specific reinforcement for

Defendants’ responses to RFA 5 and 6 seeking admission Defendants would have enforced the

NFA (and GCA) if Plaintiff had not destroyed his solvent trap.

       Interrogatory 4 seeks legal authorities Defendants alluded to but did not cite in their motion

to dismiss. ECF 11-1 at 1. Defendants repeatedly make statements to this Court of a dispositive

nature that are more of a suggestion than a legal argument. This deprives Plaintiff of a full and fair

opportunity to rebut the Agency’s arguments. Defendants do not explain why this interrogatory is

overbroad; clearly, Defendants have a limited number of cases in mind.

       Defendants made no attempt to argue why Interrogatory 5 is overbroad, for a question that

merely asks the Agency to state the reasons it denied applications to make silencers from solvent

traps other than purely administrative reasons (incomplete applications, state prohibitions, missing

fingerprints, etc.) This interrogatory pertains directly to Defendants’ contradictory claims it is

permissible to make a silencer from a solvent trap, but it is unlawful to possess a solvent trap.

       Defendants also do not explain why Interrogatory 6 is overbroad. The question merely asks

Defendants how one would legally make a suppressor from a solvent trap if possessing the solvent

trap is illegal. The purpose of this interrogatory is to rebut Agency’s arguments in its MTD.




                                                  6
         Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 7 of 11




       Next, Defendants make conclusory arguments Plaintiff’s requests for 15 years of budget

information on tax revenues and expenses to collect those revenues is overbroad, apparently only

because of the number of years. Opposition at 16—17. Defendants failed to provide any affidavits

attesting to this “massive burden.” Arguments of lawyers are not evidence.

       Federal agencies presumably have their annual budgets readily at hand. The Agency

specifically reports its NFA tax collections by year. Plaintiff thoroughly explained the need for a

minimum of fifteen years: the soaring number of National Firearms Act applications in recent

years would, holding staffing and budgets constant, artificially increase the net revenue per

application. The agency would benefit from temporary economies of scale, i.e., falling average

cost of processing applications. In the longer term, the agency would have to hire more staff to

meet this rising demand. Costs of processing these soaring applications will be hidden within

lengthening applicant waiting times, which Plaintiff pleaded was exceptionally lengthy. Complaint

¶ 47. These discovery requests demonstrate that the NFA tax is not a true source of government

revenue but an end-run around Second Amendment protections by making NFA regulated firearms

prohibitively expensive.

       In summary, Defendants’ Opposition only complained vociferously that discovery was

overbroad, which falls well short of its burden to prove overbreadth. This Court must also consider

that Plaintiff needs this information to rebut Defendants’ arguments vis a vis standing, he has no

other means of obtaining this information, Defendants have resources far above those of Plaintiff,

the issues of unconstitutional taxes and a rule violating the APA are very important, and the

benefits of discovery outweigh its costs. F.R.C.P. 26(b)(1).




                                                7
         Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 8 of 11




  C. Purpose of Discovery.

       The purpose of Plaintiff’s discovery is to directly address arguments Defendants made in

their Motion to Dismiss regarding Plaintiff’s standing to bring suit to challenge the Agency’s Rule

and the National Firearms Act. Even with facial challenges to the sufficiency of the pleadings with

respect to elements of standing (in this case only injury-in-fact), Plaintiff may seek discovery to

gather facts supporting injury-in-fact relying solely on information in Defendants’ possession.

       Defendants play coy about the severe penalties Plaintiff would face for violating the NFA

or GCA. Discovery will force Defendants to admit Plaintiff faces enormous risks if he violates

those laws, providing him standing for a preenforcement challenge.

       Defendants know requesting an NFA tax refund is futile, yet they continue to challenge

Plaintiff’s standing to seek a tax refund and this Court’s jurisdiction to grant a refund. Defendants

discovery responses expose the NFA for what it is: a prohibitive tax used to get around Second

Amendment protections.


  D. Burden of Discovery.

       The person or entity "resisting discovery" has the "burden . . . to show that the documents

requested are . . . unduly burdensome[.]" In re Micron Tech., Inc. Sec. Litig., 264 F.R.D. 7, 9

(D.D.C. 2010); see also Buzzfeed, Inc. v. U.S. Dep't of Justice, 318 F. Supp. 3d 347, 356 (D.D.C.

2018). Vague and conclusory assertions are not sufficient; rather, a showing of undue burden "must

be specific" and concrete. See, e.g., Flatow v. Islamic Republic of Iran, 196 F.R.D. 203, 207

(D.D.C. 2000). Assertions of an undue burden without "specific estimates of staff hours needed to

comply" should be "categorically rejected." Association of Am. Physicians & Surgeons v. Clinton,

837 F. Supp. 454, 458 n.2 (D.D.C. 1993). Fairholme Funds, Inc. v. Fed. Hous. Fin. Agency, No.

1:13-cv-1053-RCL, at *4 (D.D.C. Nov. 8, 2019).


                                                 8
         Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 9 of 11




       Defendants provided no affidavits to this Court attesting to their burden to provide any of

the requested discovery items. Defendants made mere conclusory claims of burden that this Court

must categorically reject. Defendants refer to the number of discovery requests, but did not even

attempt to explain why this number was unduly burdensome. More than 62% (18 of 29) of the

discovery requests are Requests for Admissions requiring very little time or expense.

       In considering an objection to discovery requests on the basis of burden, federal rules

require the Court to consider (1) the needs of the case, (2) the importance of the issues at stake in

the action (3) the amount in controversy, (4) the parties’ relative access to relevant information,

(5) the parties’ resources, (6) the importance of the discovery in resolving the issues, and (7)

whether the burden or expense of the proposed discovery outweighs its likely benefit. F.R.C.P.

26(b)(1). Defendants did not make any arguments concerning the other factors this Court

considers, thus they have failed to carry their burden.

       As stated above in the Overbreadth section, Defendants’ responses to discovery will be

extremely limited given that the requests paint Defendants in a corner by having them admit to

elements of injury-in-fact, the futility of tax refunds, the inability to submit NFA applications

without tax payment, the impossibility of legally making a silencer from a solvent trap,


  E. Time in Advance of Regular Discovery.

       Plaintiff’s opposition to Defendants’ MTD is due on January 12, 2023 and Defendants’

reply is due on January 26, 2023. Assuming Plaintiff’s claims survive the MTD, discovery will

likely commence in mid- to late- February, 2023 – just two months from the date of this Reply.

       Defendants cited inapposite authorities relating to failure to state a claim where a plaintiff’s

cause of action might be unviable. ECF 16 at 18. Defendants try to shoehorn this into their




                                                  9
         Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 10 of 11




 Rule 12(b)(1) motion, citing NBC-USA Hous., Inc. v. Donovan, 774 F. Supp. 2d 277, 295 (D.D.C.

 2011) and Attkisson v. Holder, 113 F. Supp. 3d 156, 165 (D.D.C. 2015).

        In NBC-USA, the court noted that, “This Circuit's standard for permitting jurisdictional

 discovery is quite liberal." Diamond Chem. Co. v. Atofina Chems., Inc., 268 F. Supp. 2d 1, 15

 (D.D.C. 2003).” NBC-USA at 294-95. A plaintiff must have at least a good faith belief that such

 discovery will enable it to show that the court has jurisdiction. Caribbean Broad. Sys., Ltd. v.

 Cable Wireless PLC, 148 F.3d 1080, 1090 (D.C. Cir. 1998); NBC-USA at 295. In the instant case,

 Plaintiff satisfied his duty to make a detailed showing of what discovery he wished to conduct and

 what results he thinks discovery would produce. Atlantigas Corp. v. Nisource, Inc., 290 F. Supp.

 2d 34, 53 (D.D.C. 2003); NBC-USA at 295. Plaintiff’s discovery strikes directly at the heart of

 Defendants’ jurisdictional attacks.

        Unlike the instant case, the plaintiff in Attkisson sought “extensive and expensive

 discovery.” As shown above, Defendants failed to demonstrate Plaintiff’s requests were either

 extensive or expensive. The Attkisson court also denied the motion because there was a dispute

 over whether plaintiff properly served the defendants, an issue not present in this case.


VI. Amendment of Requests

        If this Court grants Plaintiff’s motion for expedited discovery, he requests leave to modify

 the requests referring to the National Firearms Act (NFA) to also include the Gun Control Act

 (GCA), both of which are pertinent to standing. Plaintiff does not anticipate these changes to

 expand Agency’s burden in responding to discovery.


VII. Conclusion

        For the reasons stated above, this Court should grant Plaintiff’s motion for expedited

 discovery.

                                                 10
       Case 1:22-cv-02579-CKK Document 17 Filed 12/22/22 Page 11 of 11




December 22, 2022                  Respectfully submitted.



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                                     11
